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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                           :   CRIMINAL NO.
                                                   :
                v.                                 :   GRAND JURY ORIGINAL
                                                   :
VLADISLAV ANATOLIEVICH                             :   VIOLATIONS:
    HOROHORIN,                                     :
                                                   :   18 U.S.C. § 1029 (Access Device
                               Defendant           :   Fraud);
                                                   :   18 U.S.C. § 1028A (Aggravated
                                                   :   Identity Theft);
                                                   :   18 U.S.C. § 2 (Aiding and Abetting and
                                                   :   Causing an Act to be Done)
                                                   :
                                                   :


                                          INDICTMENT

The Grand Jury charges that:

       At all times material to this Indictment:

                                           Introduction

       1.      The term “access device” means any card, plate, code, account number, electronic

serial number, mobile identification number, personal identification number, or other

telecommunications service, equipment, or instrument identifier, or other means of account

access that can be used, alone or in conjunction with another access device, to obtain money,

goods, services, or any other thing of value, or that can be used to initiate a transfer of funds. A

credit card number is an access device.

       2.      The term “unauthorized access device” means any access device that is lost,

stolen, expired, revoked, canceled, or obtained with intent to defraud.
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       3.      CarderPlanet and Carder.su are examples of organized criminal websites

dedicated to promoting: malicious computer hacking; Internet fraud schemes; electronic theft of

personal financial and identifying information; trafficking in and use of stolen credit card and

debit card information (commonly referred to by criminals by the slang term “dumps”), stolen

bank account information, and other stolen individual identifying information; and the

production of, trafficking in, and use of counterfeit identification documents. The person using

the alias “BadB” is a known trader of dumps.

       4.      Defendant, VLADISLAV ANATOLIEVICH HOROHORIN, is a citizen of Israel

and the Ukraine.

       5.      Defendant, VLADISLAV ANATOLIEVICH HOROHORIN, used the alias

“BadB” to operate an illegal business selling dumps (i.e., unauthorized access devices).

                                            COUNT ONE
                                        (Access Device Fraud)

       6.      The allegations set forth in paragraphs 1 through 5 of this Indictment are realleged

and incorporated by reference herein.

       7.      Before on or about April 27, 2009, BadB posted an advertisement on the Internet

carding forum carder.su. The advertisement listed BadB’s title as “Seller of dumps.” BadB

advised in the advertisement that he had been selling dumps for approximately eight years,

“since the days of CarderPlanet” (one of the original carding websites, which is now defunct).

He also stated that he was one of the biggest dumps vendors on the market. BadB referred

interested customers to his dumps vending websites dumps.name and badb.biz, and further

advised that he could be contacted via the ICQ account number 49162552. “ICQ” is an Internet-

based online chatting service.




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       8.      On or about May 15, 2009, using an undercover computer located in the District

of Columbia, a United States Secret Service (USSS) agent engaged in undercover

communications with BadB via an ICQ account. BadB instructed to send funds via Western

Union to the name Sergey Dubrovskih, X, Ukraine. BadB further advised that once the funds

were received, the account established at dumps.name, would be funded within twelve hours.

Using a Western Union location in Arlington, Virginia, USSS agents sent $1,250.00 in

undercover funds as instructed.

       9.      On or about May 19, 2009, USSS agents accessed the dumps.name website,

which is hosted outside the United States, and observed that the account had been credited with

the undercover funds sent via Western Union. At that time, USSS agents purchased fifty-eight

credit card dumps from BadB’s website, for a total of approximately US $1,160. Several of the

purchased dumps were subsequently verified by Visa to be authentic access devices.

       10.     On or about July 9, 2009, USSS agents again accessed dumps.name and observed

that BadB was vending credit card dumps from a variety of different banks from countries

throughout the world. Using an undercover computer located in the District of Columbia, USSS

agents again engaged in undercover communications with BadB via ICQ for the purposes of

purchasing credit card dumps from the dumps.name website. During these communications,

BadB advised that he no longer accepted funds via Western Union and that all purchases must

now be made via “WebMoney” through the dumps.name website. “WebMoney” is an online

electronic payment system based in Moscow, Russia.

       11.     On or about July 10, 2009, USSS agents logged into the Internet website

www.planetwm.com, an online currency exchange, for the purpose of converting the undercover

funds to WebMoney. At the direction of planetwm.com, USSS agents, using a Western Union




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location in Washington, DC, sent $1,246.00 in undercover funds to the name “Valentin

Vladimirovich Ivanov” in X, Russia.

       12.      On or about July 17, 2009, USSS agents observed that the undercover WebMoney

account number XXXXXXXXX2418 had been funded with the undercover funds sent via

Western Union and planetwm.com. Using an undercover computer in the District of Columbia,

USSS agents then used the undercover funds in the WebMoney account to establish a credit at

dumps.name, which is hosted outside the United States. USSS agents then purchased thirteen

credit card dumps, for a total of approximately US $1,163.

       13.      Defendant HOROHORIN knew that the access devices he sold were unauthorized

(i.e., that they were credit card account numbers issued to other persons that were lost, stolen,

expired, revoked, canceled, or obtained with intent to defraud). Defendant HOROHORIN sold

the access devices with intent to defraud the legitimate cardholders and banks.

       14.      Between in or about May 2009 and in or about November 2009, in the District of

Columbia and elsewhere, VLADISLAV ANATOLIEVICH HOROHORIN did knowingly and

with intent to defraud aid and abet another in the possession of more than fifteen credit card

account numbers issued to other persons that were lost, stolen, expired, revoked, canceled, or

obtained with intent to defraud, which are unauthorized access devices, said activity affecting

interstate commerce.

             (Access Device Fraud, Aiding and Abetting and Causing and Act to be Done
                  in violation of Title 18, United States Code, Sections 1029(a)(3), 2)




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                                           COUNT TWO
                                     (Aggravated Identity Theft)

       15.      The allegations set forth in paragraphs 1 through 13 of this Indictment are

realleged and incorporated by reference herein.

       16.      Between in or about May 2009 and in or about November 2009, in the District of

Columbia and elsewhere, VLADISLAV ANATOLIEVICH HOROHORIN did knowingly

transfer, without lawful authority, a means of identification of another person, specifically credit

card account numbers belonging to others, during and in relation to access device fraud in

violation of Title 18, United States Code, Section 1029(a)(3).

                                       (Aggravated Identity Theft,
             in violation of Title 18, United States Code, Sections 1028A(a)(1) and (c)(4))


                                                A TRUE BILL


                                                Foreperson


          /s/
CHANNING D. PHILLIPS
ACTING UNITED STATES ATTORNEY




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